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Primary Contact                         Lisa C. l-lolahan
                                        Genesis HealthC;ilre LLC
                                        101 E. State Stler-.t
                                        Kennett Square, t)A 19348

El,ectronic copy prr>vided              to:                 .larrolyn Quinones

Errtity:                                                   jienesis Eldercare Rehabilitation Services           l_L-rl)
                                                           -ntity lD Numtrer 3431590
Errtity Senr'erd:                                          il;enesis Eldercare Rehabi litation Services         t_L,r_)

Title of Actio,n:                                          lSonja M. Tysorr vs. Genesis; Eldercarer flehabilitat orr lServ'icr:s, LIC, rlbel
                                                           li egenc,y Center
Dc'cument(sll l'ype:                                       lSummorrs/Conrplaint
Nature of liction:                                         Personal Injury
Cc'urUAgency:                                              .J,-'fferson Courrty Circuit Court, Kentucky
Case/Reference No:                                         17Ct002,22
Jurisdictio,n Sr-'rved     :                               l(entucky
Dale Served on CStl:                                       01t17 t2017
Answer or Apperarance 0ue:                                 llrl Days
Originally lienred On:                                     CSC
How Serverd:                                               Certified Mail
Se   nder In1'ornration:                                   fiay H. Stoess, Jr.
                                                           {rr)2-583-8633

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         Louisvilkr    KY    ,40i218
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VS.


        G-ENEISIS    ELDERI:ARE REHABILITAT ]'I,I SERVICES, LLC dbA REGENCY
                                                                                                                         D,EFENDANT
                                                                            CENTEIii
        1550llay'dale Drive
        Louis','ilfe   l<Y   40219




:Service ol Pr,o,cess ,Agent for Defendarrl:
 Corporatirln Sierrvice Company, Regislere,<l Agent
Genesis Eldercare Fiehabilitation Services, LLC
.-+_::--                -.-     .-.    -,
4211    West Main Street
Frankfort       KY     40601
.THE
         COMIVIONWEAI-TH OF KENTUCK'\/
'ro THE AtBO'yE-NAME:D OEFENDANT(rS
                                                   )   :



          You arer hereby notified a legal ar<;llion has been filed against you in this; Oouri:
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:your behalf within 20 days following the rJay this paper is derivered to you, judgrne rt t'r de,iault m,ay be talierr agirinst you
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   SON.J,{ IW. TYSON
   2l l6 Eieuchel Bank Road
   Louis;villc, Kentucky 40218


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                                                  e!1\fPJ.4-NT
   GENESII] ELDI]RCARE RE}II dBILITATION SERVICES, I-1-,(]
  dba RTDGUNC:Y CENTUR
   1550 lRraydale Drive
  l,ouis'villc, Kcrrtucky 40219

         Sen'e:
                  Corporation Senr,ice Company
                  .Registered Agenrt:
                  Genesis Eldercart: Rehabilitation Services. LLC:
                  ,{21 West Main litreet
                  !-   rankfort, Kenturr:kv   40601

         ,{lsio Se.rve:
                  Managing Agenr:
                  Regency Center
                  1550 Raydale Drive
                  l,ouisville, Kentucky 40219
                                                                                                     DLiFEI{I)A\J-|
                                                   *** *** ***
         Pla:intifT, Sonja   M. Tysor, for her complaint herein, states      as   follows:

         l.       f'laintiff, Sonla M. Tysort, is a resident of Louisville, Jefli:rs1:n Oou,nt.y, Kentuck,r

 and Dcfenrlant, Genesis [rldercan: Rehabilitation Services, LLC, is a {brci65rr                 li;'ite6 li*trilit.r
 compan)/ doing business       in Lout:;ville,   Jefferson County, Kentuck'y:ncl as r;rrch has; riesrisr,atecl
Case 3:17-cv-00091-RGJ-CHL Document 1-2 Filed 02/14/17 Page 4 of 7 PageID #: 11




  Corporartl.c'n Service Company as agent for the service of'process
                                                                     in tiris and other actionrs 1i ed in

  Kentuclly.

              ',2.        l?laintiff states tJret, at all tir:nes herein after rnent:oned, f)eferrdanr,            (:ienesjs

  Eidercare lR"ehabilitation Services', LLC., was the owner and operatr:,r
                                                                           ol'ir. lcnlig tenn c're: faril:ify

  known as Reg;ency Center lor:ated                     at   1550 Raydale Drive, I-ouis,rille, Jeflrrson C,rur,-r.

  Kentuc;ky.

                                                              gQUNTI
          3'             firom abou| 20t)i uttil January 11, 20lti, Plaintifl'vvas; a reside,nt at ll,ijgencl/

 Center l'or:ilted        at 1550 Raydale l)rive. Louisville, Jefli:rson Count,z, [.i.enlucky.             plainr:i{f    wa.r;

 placed in L)efen4ant's carc since she lvas not able to care for herse. f riur:
                                                                                to rnental anrJ Jrhysical
 limitatio;nr;. and because Defendant held itself out as being able to ,lar:e for                 ll,laintijf.   Defendan!

 was aware          of   tltre condition   of t'iaintiff     and aware of the safety, nronitoring, a:jsistancE:, an,:l

 personal attentio,n that needed to           be:   provided to plajntiff.

          4'             Piaintiff states that tluring the time she was a resident tJrelcin, t)efbrrdant,llrrc,ug;lr

 tts agents, servittlts, employees, rrnd,/or ostensible agents, careless)y ancl nr:glig,::rt1y faileC                      tr:

 provide appropriate care ficr Plai;rtif1'and as a consequence thereof, Plaintif'r: sustainccl                      se\/er(3

 injuries inclr.rdimg but not lirnite'd to decubit,us ulcers,:;kin brezikclcu,n, ai:ute l:iclrre.,,                la.il urr:.

 dehydratiLon, sepsis, and urinary tritct infection.

         5.              Plaintiff states that her said injuries are painful and lrermanenr; rhat          slLe har; t,een

 and   wili   b,e   compelled to expen,l money for doctors. hospitals, rnr:iicines and r:rther rnccical

 cxpenses arlI to her damage,          in an ermount in        e.xcess   of the minimunt juriridicirirnal requirem::nl:;

 1br the Cirr:uit Crcurts       of the State of Kenrucky.
Case 3:17-cv-00091-RGJ-CHL Document 1-2 Filed 02/14/17 Page 5 of 7 PageID #: 12




                                                     COUNT      II
          6'       'fhe acts andl'or omissions of Defendanr were
                                                                 rsuch mnjor and sig;nilicarrt

  deviations from accepted medical, nursing and rehabilitation pra<:ti<:e
                                                                          t]rat t]:rey, in add;rtion t:r
  negligence, con.stituted wanton, reckless disregard and/or grossly negligent
                                                                               c:ondur::t and as suc,t ,

  give rise to ancl warrant tfre irnpcsition by the jury of significant puniti.ve         <Jiuna6:es agairrst th,l

 f)efenda.nt.


                                                    EQU]!TU
          1''      t'laintiff entered into an agreement with the Defendant w,hr:rebl,,the Delenclant,                 irr

 exchang'e     lltlr v'aluable considerrLlion, ilgreed to provide Plaintift'rvith,       zurion6,    othcr     rhrngs,

 adequate li'vin5l assistance, skillerl medical and nursing care, and skitlecl supervi:;io1.

         8.        I-hat the Delbndant breached its agreement with I'la.intifl, in that r:he 1)efen6alt

 flailed to Frrovicle   Plaintifl with aJe:quate living assistance, skilled nrerlica.l ancl nur:jins      c&r-(:). ?r,cl

 skilled supervision.

         9.        'I'hat as a legal
                                     anc proximate result of the Defendant's b,r'each, Plljintifl sul'fer€:,:.

 ;njuries to hcr person as sel. out ab(rve and she is, thus, entitled to recr)r,ery'fnlm Delbndant Ibr ali

 remedies ervailable to her for breac,:r of crtnrracr.


                                                    EOUNIIY
         l0        'I'hat
                            Defenclant, b1'and tlhrough its agents, servants, crnpl,oyee$ and/or         rrsternsribir:


 irgents, cleF,riv'ed and infringed u.pon Plaintif|s rights as specifierll in        :;ecl.iLcnr   2'.i6.515   6f   thu:


 l(entucky Ilievised Statutes.
                   .[hat
         1l                 as a legal and proximate result of the Defendanr'ii ar:l.ions, Plaintitl.su.lfi:red

 injuries tc, her person. including but not iimited to decubitus ul,lers, :;kin. breal<do,iln.                  a,cul{j


 llidney fail.uue, dehydration, sepsis, urinary tract infection, mental and lthysiicnl suflbring;.
Case 3:17-cv-00091-RGJ-CHL Document 1-2 Filed 02/14/17 Page 6 of 7 PageID #: 13




          lt!.     'f'hat Plaintiff is. thus.
                                              entitled to recovery from tfefenilant fcrr all rernedi,:s

  available to her urder section 216.515 of the Kentucky Revised Sta:utes.

          llji.   lfhe claims herern presented exceed the minimunr lur:i,rdir:tional 6nrits of rh:

  Circuit Court rsaid the state of Ke:ntucky

         WIIERE FORE, Plainr iff           ;-espectful rv demands the fol lorvir     lg :


         l.       Judgment againsl Def'endant, Genesis Eldercare Rehabilitation llr:r'vices., I_LC,

 dba Regencv Center, in an amount that                will   compensate Plaintiff fcrr iall     c;,3r11p611satory   *nd/.r
 statutory dalnallcs frorn the Deli:ndant, including but not limiter:l to;rain and suf'fi:rinrg ancl

 medical e;{Jlenses in such amoun-as the            trierof fact shall deemlust      and reas6nilble;

         2.       Judgment against Defendant for punitive damager;                      in   zrn ,a:nrluut ,or arrrounlri

 determined by the trier of the ftrct.

                  -['hat
         3.                the Plraintiff L,e awarded all appropriate costs, attornel's'' fer:i; a.nrl interes;r.

 ruthorizedi bv law:

        4.        11,   trial by jury on all   issu€:s so   rliable; and

        -5,       r\,ny other such relie:f as is;deenred just and appropriate.




                                                                   600 West Main litreet, S.rire l(Jtl
                                                                   Louisville, Kentr"rc ky,+0')-02
                                                                   (502) s83-8633
                                                                   ra1 stoess@600rve stmain.      c'lm
                                                                   Attorney for PlaiLntifl'
Case 3:17-cv-00091-RGJ-CHL Document 1-2 Filed 02/14/17 Page 7 of 7 PageID #: 14




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